          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 1 of 31



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12

13                                                        Case No. 3:21-cv-80-MMD-CLB
     BARTELL RANCH LLC, et al.,
                                                          Related Case No. 3:21-cv-103-MMD-
14                   Plaintiffs,                          CLB
                                                          (Consolidated)
15          v.
16   ESTER M. MCCULLOUGH, et al.,
17                   Defendants.
18
     WESTERN WATERSHEDS                                   FEDERAL DEFENDANTS’
19
     PROJECT, et al.,                                     REPLY IN SUPPORT OF THEIR
20                   Plaintiffs,                          MOTION FOR SUMMARY
                                                          JUDGMENT ON
21          v.                                            ENVIRONMENTAL PLAINTIFFS’
22                                                        CLAIMS
     UNITED STATES DEPARTMENT
23   OF THE INTERIOR, et al.,
                     Defendants.
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     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 2 of 31



 1
                                               TABLE OF CONTENTS
 2   ARGUMENT .................................................................................................................. 1
 3            I.        BLM’s approval of the Project complied with FLPMA ................................ 1
 4                      A.       BLM’s approval of the Project complied with applicable RMP
                                 requirements .................................................................................... 2
 5

 6                      B.       The Rosemont decision does not alter the outcome here ...................... 7

 7                      C.       BLM’s approval does not violate water- or air-quality standards
                                 or protections for sage-grouse ......................................................... 10
 8
              II.       BLM’s approval of the Project complied with NEPA ................................. 13
 9
                        A.       BLM adequately described baseline conditions and impacts to
10                               wildlife ........................................................................................... 14
11
                        B.       BLM analyzed cumulative impacts ................................................. 18
12
                        C.       BLM considered mitigation measures ............................................. 20
13
              III.      The Court should not vacate the ROD and EIS.......................................... 23
14
     CONCLUSION ............................................................................................................. 25
15

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     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims                                          i
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 3 of 31



 1
                                          TABLE OF AUTHORITIES
 2   Cases
 3   Alaska Env’t Ctr. v. Kempthorne,
       457 F.3d 969 (9th Cir. 2006) ............................................................................... 20
 4
     Allied–Signal, Inc. v. U.S. Nuclear Regul. Comm’n,
 5     988 F.2d 146 (D.C. Cir. 1993) ............................................................................ 24
 6   Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc.,
 7     462 U.S. 87 (1983).............................................................................................. 17
     Black Rock City LLC v. Haaland,
 8
       No. 19-CV-3729 (DLF), 2022 WL 834070 (D.D.C. Mar. 21, 2022) ..................... 24
 9
     Cal. Cmtys. Against Toxics v. EPA,
10     688 F.3d 989 (9th Cir. 2012) ............................................................................... 24
11   Ctr. for Biological Diversity v. BLM,
       833 F.3d 1136 (9th Cir. 2016) ............................................................................. 17
12
     Ctr. for Biological Diversity v. U.S. Dep’t of Interior,
13     623 F.3d 633 (9th Cir. 2010) .................................................................................3
14   Ctr. for Biological Diversity v. U.S. Fish and Wildlife Serv. (Rosemont),
15
       33 F.4th 1202 (9th Cir. 2022) .................................................................... 2, 4, 7, 9
     Davis v. Mineta,
16
      302 F.3d 1104 (10th Cir. 2002) ........................................................................... 21
17
     Edwardsen v. U.S. Dep’t of the Interior,
18     268 F.3d 781 (9th Cir. 2001) ............................................................................... 12
19   Fox Television Stations, Inc. v. FCC,
       280 F.3d 1027 (D.C. Cir. 2002) .......................................................................... 24
20
     Great Basin Mine Watch v. Hankins,
21     456 F.3d 955 (9th Cir. 2006) ......................................................................... 11, 19
22   Great Basin Resource Watch v. Bureau of Land Management,
       844 F.3d 1095 (9th Cir. 2016) ............................................................ 14, 15, 19, 20
23
     Greenwood v. FAA,
24
       28 F.3d 971 (9th Cir. 1994) ................................................................................. 19
25
     Half Moon Bay Fishermans’ Mktg. Ass’n v. Carlucci,
26    857 F.2d 505 (9th Cir. 1988) ............................................................................... 17

27   Idaho Farm Bureau Fed’n v. Babbitt,
       58 F.3d 1392 (9th Cir. 1995) ............................................................................... 24
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims                             ii
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 4 of 31



 1   Japanese Vill. LLC, v. Fed. Transit Admin,
       843 F.3d 445 (9th Cir. 2016) ............................................................................... 18
 2
     Klamath-Siskiyou Wildlands Ctr. v. BLM,
 3
       387 F.3d 989 (9th Cir. 2004) ............................................................................... 14
 4   Kleppe v. Sierra Club,
 5     427 U.S. 390 (1976) ..............................................................................................1

 6   Min. Pol’y Ctr. v. Norton,
      292 F. Supp. 2d 30 (D.D.C. 2003) .......................................................... 3, 6, 9, 17
 7
     Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
 8    184 F. Supp. 3d 861 (D. Or. 2016) ...................................................................... 21
 9   Or. Nat. Res. Council v. Lowe,
       109 F.3d 521 (9th Cir. 1997) ............................................................................... 14
10
     Plains Res. Council, Inc. v. Surface Transp. Bd.,
11
       668 F.3d 1067 (9th Cir. 2011) ....................................................................... 18, 19
12   Robertson v. Methow Valley Citizens’ Council,
13     490 U.S. 332 (1989) ............................................................................................ 20

14   Selkirk Conservation All. v. Forsgren,
       336 F.3d 944 (9th Cir. 2003) ............................................................................... 19
15
     Silva v. Lynn,
16      482 F.2d 1282 (1st Cir. 1973) .............................................................................. 21
17   Spotted Owl v. Hodel,
       716 F. Supp. 479 (W.D. Wash. 1988) ................................................................. 21
18
     Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,
19     282 F. Supp. 3d 91 (D.D.C. 2017) ...................................................................... 24
20   Te-Moak Tribe of W. Shoshone of Nev. v. U.S. Dep’t of Interior,
21     608 F.3d 592 (9th Cir. 2010) ............................................................................... 18

22   Theodore Roosevelt Conservation P’ship v. Salazar,
       661 F.3d 66 (D.C. Cir. 2011) .............................................................................. 12
23
     Western Exploration LLC v. U.S. Dep’t of Interior,
24    250 F. Supp. 3d 718 (D. Nev. 2017) .................................................................... 21
25   WildEarth Guardians v. U.S. Office of Surface Mining, Reclamation,
      & Enf’t, 104 F. Supp. 3d 1208 (D. Colo. 2015)..................................................... 24
26
     WildEarth Guardians v. Zinke,
27    368 F. Supp. 3d 41 (D.D.C. 2019) ...................................................................... 24
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims                            iii
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 5 of 31



 1   Williston Basin Interstate Pipeline Co. v. FERC,
      519 F.3d 497 (D.C. Cir. 2008) ............................................................................ 24
 2
     Statutes
 3
     30 U.S.C. § 22 .........................................................................................................8
 4
     43 U.S.C. § 1712(e)(3) ......................................................................................... 4, 7
 5
     5 U.S.C. § 706(2)(A) .............................................................................................. 23
 6
     Regulations
 7
     40 C.F.R. § 1502.14(f)............................................................................................ 20
 8
     40 C.F.R. § 1502.15 ............................................................................................... 13
 9   43 C.F.R. § 3809.411(d)(3)................................................................................. 3, 25
10   43 C.F.R. § 3809.420 ............................................................................................. 10
11   43 C.F.R. § 3809.420(a)(3) .......................................................................................4
12   43 C.F.R. § 3809.420(a)(4) .......................................................................................6
13   43 C.F.R. § 3809.420(b)(5) ..................................................................................... 11
14   43 C.F.R. § 3809.420(b)(7) ..................................................................................... 12
15   66 Fed. Reg. 54,834 (Oct. 30, 2001) ....................................................................... 12
16

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     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims                                iv
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 6 of 31



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 2
                                   TABLE OF ABBREVIATIONS
 3

 4            APA                     Administrative Procedure Act
              ARMPA                   Approved Resource Management Plan
 5                                    Amendment
 6            BLM                     United States Bureau of Land Management
              DEIS                    Draft Environmental Impact Statement
 7            EIS                     Environmental Impact Statement
 8            FEIS                    Final Environmental Impact Statement
              FLPMA                   Federal Land Policy and Management Act of
 9                                    1976
              NAAQS                   National Ambient Air Quality Standards
10
              NDEP                    Nevada Department of Environmental
11                                    Protection
              NDOW                    Nevada Department of Wildlife
12
              NEPA                    National Environmental Policy Act
13            RMP                     Resource Management Plan
              ROD                     Record of Decision
14            SETT                    Nevada’s Sagebrush Ecosystem Program
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     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims   v
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 7 of 31



 1
                                              ARGUMENT
 2
            The Environmental Plaintiffs have not carried their burden of demonstrating
 3
     that the United States Bureau of Land Management’s (BLM) approval of the Thacker
 4
     Pass Project was arbitrary or capricious. See Kleppe v. Sierra Club, 427 U.S. 390, 412
 5
     (1976) (establishing burden). They fail to respond substantively to BLM’s
 6
     explanations as to why the Federal Land Policy and Management Act (FLPMA),
 7
     BLM’s regulations, and resource management plans (RMPs) did not require BLM to
 8
     impose the constraints on the Project that Plaintiffs seek to enforce. They disregard
 9
     that BLM may apply each of the RMP provisions they invoke only to the extent the
10
     law allows, and the record clearly demonstrates why those statutes and regulations
11
     do not apply to the facts presented here. Instead, Plaintiffs continue to insist that BLM
12
     based its decision not to apply those RMP provisions on assumed “valid rights,” but
13
     the record shows that it did not do so and that it need not have made such a
14
     determination here. Finally, through their NEPA arguments, Plaintiffs continue to
15
     ask the Court to improperly flyspeck BLM’s scientific analysis, which is entitled to
16
     deference, or to require BLM to comply with standards Plaintiffs have created rather
17
     than those set by NEPA and the caselaw interpreting it. For all of these reasons, the
18
     Court should deny Plaintiffs’ motion for summary judgment and grant Federal
19
     Defendants’ cross-motion.
20
            I.      BLM’s approval of the Project complied with FLPMA
21
            Plaintiffs argue that FLPMA required BLM to ensure that the Project complied
22
     with sage-grouse-related provisions of the Nevada and Northeastern California
23
     Greater Sage-Grouse Approved 2015 RMP Amendment (the 2015 ARMPA) and the
24
     visual resource management (VRM) provisions of the Winnemucca RMP, and that
25
     BLM did not do so because it assumed that Lithium Nevada possessed “valid rights”
26
     under the Mining Law to place waste rock and tailing facilities on the public lands.
27
     Both of these premises are faulty. Nothing in the RMPs themselves, FLPMA, or
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims    1
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 8 of 31



 1
     BLM’s regulations required adherence to those aspects of the RMPs. And BLM did
 2
     not—and did not need to—base its decision on any assumption of “valid rights” for
 3
     the independent reasons that BLM lacked discretion to require compliance with those
 4
     provisions and could not do so without effectively and impermissibly withdrawing
 5
     the lands in question from operation of the Mining Law through the land-use
 6
     planning process. The Ninth Circuit’s recent decision in Center for Biological Diversity
 7
     v. U.S. Fish and Wildlife Service (“Rosemont”), 33 F.4th 1202 (9th Cir. 2022), is
 8
     distinguishable and does not alter the conclusion that BLM’s approval of the Project
 9
     complied with FLPMA.
10
                 A.     BLM’s approval of the Project complied with applicable RMP
11                      requirements
12            The challenged Record of Decision (ROD) approved two separate plans: a

13   Mining Plan of Operations and an Exploration Plan of Operations. 1 Plaintiffs have

14   now clarified that they do not challenge the Exploration Plan’s compliance with the

15   RMPs. Nor do they challenge BLM’s approval of most of the Mining Plan for failure

16   to comply with the RMPs. In fact, the only element of the Project that they now argue

17   needed to comply with the invoked RMP provisions concerns the waste rock and

18   tailings facilities described in the Mining Plan. 2 But Plaintiffs have not demonstrated

19   that BLM’s approval of the Mining Plan was required to comply with the RMP

20   1
         ROD, TPEIS-0452 at 1–2 (AR-052517–18).
21   2
       See Pls.’ Resp. in Supp. of Mot. for Summ. J at 2–12, ECF No. 264 (“WWP Resp.”)
     (addressing “valid rights” argument at waste rock and tailings facilities); id. at 13–16
22   (arguing, inaccurately, that BLM did not apply 2015 ARMPA provisions to that aspect of
23   the Project based on a “valid rights” assumption); id. at 16 (clarifying that WWP alleges
     “violations of FLPMA, based on [BLM’s allegedly] erroneous and unsupported assumption
24   that LNC had rights under the Mining Law to permanently occupy the waste dump lands,
     and thus, that compliance with the RMPs was not required”); id. at 16, 20, 23 (founding
25   other RMP-based arguments on “tailings and waste dump” occupation).
26   Unless otherwise indicated, all ECF numbers refer to the consolidated docket in this case,
     3:21-cv-80 (D. Nev.). Citations to the docket in Western Watersheds Project, 3:21-cv-103
27   (D. Nev.), will be identified as “WWP ECF No.”
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims     2
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 9 of 31



 1
     provisions they invoke—regardless of whether Lithium Nevada had the “valid rights,”
 2
     as Plaintiffs persistently contest.
 3
            First, on their face, the provisions of the Winnemucca RMP and the 2015
 4
     ARMPA must be applied only to discretionary actions—i.e., actions that BLM has
 5
     decided through the land-use planning process to allow, and that BLM may refuse to
 6
     authorize even if such refusal is not required to prevent “unnecessary or undue
 7
     degradation.” 3 Disapproval of a plan of operations is not such an action. To the
 8
     contrary, BLM’s regulations do not afford it discretion to disapprove a plan of
 9
     operations for failure to comply with a land-use plan. See 43 C.F.R. § 3809.411(d)(3).
10
     In response to this argument, Plaintiffs merely invoke positions taken by Interior in
11
     previous, unrelated cases. 4 But neither of those cases addressed disapproval of a plan
12
     of operations for lack of compliance with a land-use plan or BLM’s authority with
13
     respect to such disapprovals. See Ctr. for Biological Diversity v. U.S. Dep’t of Interior,
14
     623 F.3d 633, 645 (9th Cir. 2010) (discussing NEPA compliance); Min. Pol’y Ctr. v.
15
     Norton, 292 F. Supp. 2d 30, 44 (D.D.C. 2003) (addressing facial challenge to
16
     regulations without considering whether land-use planning provisions could be used
17
     to reject an otherwise-compliant plan of operations).
18
            Furthermore, BLM could not impose provisions of the RMPs on the Mining
19
     Plan where, as here, requiring compliance with those provisions would effectively bar
20
     operations entirely—thus having the effect of withdrawing the land from operation of
21

22   3
      See TPEIS-0298, 2015 ARMPA at 2-30 (AR-037782) (clarifying that, with respect to actions
23   involving locatable minerals, certain management objectives apply “to the extent allowed by
     law”); TPEIS-0226, Winnemucca RMP at 2-52 (AR-033676) (defining “Discretionary
24   Actions” to “include livestock grazing, mineral leasing, and some lands actions”).
25
     4
      WWP Resp. at 22–23. Plaintiffs’ attempts to revisit Interior’s arguments in Ctr. for Biological
     Diversity and Mineral Policy Center, id. at 19, are immaterial where, as here, the terms of the
26   invoked RMPs themselves exclude application of the provisions Plaintiffs assert and where
     neither case addressed whether requiring compliance with the RMPs would effectively
27   withdraw lands from operation of the Mining Law.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims           3
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 10 of 31



 1
     the Mining Law, which BLM is expressly prohibited from doing through the land-
 2
     use-planning process. 43 U.S.C. § 1712(e)(3). Plaintiffs do not seriously counter this
 3
     argument, stating generally—and without mentioning § 1712(e)(3)—that it is
 4
     “contrary to the Ninth Circuit’s Rosemont ruling” and “BLM’s own regulations.” 5
 5
     But Rosemont did not discuss FLPMA, RMPs, or withdrawal of lands at all. And
 6
     BLM’s regulations require compliance with land-use plans “[c]onsistent with the
 7
     mining laws,” 43 C.F.R. § 3809.420(a)(3), and cannot impose compliance with
 8
     provisions of land-use plans when such compliance would effectively bar any
 9
     operations.
10
              In any event, as Federal Defendants have explained, application of the RMP
11
     provisions that Plaintiffs invoke is expressly limited such that they may be applied
12
     only “to the extent allowed by law,” “consistent with applicable law,” or “subject to
13
     applicable laws and regulations”—not only when “valid rights” are in play. 6
14
     FLPMA’s prohibition against withdrawing lands from operation of the Mining Law
15
     through land-use planning thus cabins these provisions’ application. So, too, do
16
     BLM’s regulations, which—as explained supra—do not authorize BLM to disapprove
17
     mining plans of operations for lack of compliance with an RMP. Plaintiffs ignore this
18
     language entirely, continuing to argue that BLM exempted the Project from the 2015
19
     ARMPA provisions on grounds that Lithium Nevada possessed “valid existing
20
     rights.” 7 In doing so, they ignore BLM’s explanation that it did not exempt the Project
21
     from the 2015 ARMPA provisions on that basis.
22
              Plaintiffs’ remaining arguments have not overcome the plain language of the
23
     2015 ARMPA provisions. First, Plaintiffs entirely ignore that the 2015 ARMPA
24

25
     5
         See WWP Resp. at 20.
26   6
      Fed. Defs.’ Opp’n to Pls.’ Mot. for Summ. J. at 12–16, ECF No. 237 (“Fed. Defs.’ Opp’n”)
27   (citations omitted).

28
     7
         See WWP Resp. at 6, 13–16.

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims    4
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 11 of 31



 1
     applies noise restrictions—such as the 3% disturbance cap—only to “discretionary
 2
     activities,” which does not include authorizations under 43 C.F.R. subpart 3809.
 3
     Plaintiffs then mischaracterize Federal Defendants’ argument with respect to the
 4
     “Required Design Features” of MD SSS 2: it is not that those provisions can never be
 5
     applied to locatable mineral projects; 8 rather, application of MD SSS 2 is, on its face,
 6
     “subject to applicable laws and regulations.” 9 Among the “applicable laws” that cabin
 7
     those provisions’ reach is FLPMA’s prohibition from withdrawing lands from
 8
     operation of the Mining Law in these circumstances, when applying the disturbance
 9
     cap would effectively bar any operations and so act as a withdrawal.
10
              Second, Plaintiffs newly argue that BLM should have required the Project to
11
     comply with MD SSS 17 through 24. 10 But the Final Environmental Impact
12
     Statement (FEIS) does not identify or conclude that the 2015 ARMPA’s triggers have
13
     been met, as Plaintiffs suggest. 11 Even if it did, those provisions largely address actions
14
     that BLM will take in response to relevant triggers being met and do not address
15
     incorporation of specific requirements at the project level. 12 Plaintiffs thus fail to
16
     identify how those provisions would or should be incorporated into the Project, even
17
     if they applied here. And Plaintiffs have brought no claim alleging that BLM has failed
18
     to comply with the 2015 ARMPA separate from the Project’s approval, and cannot
19
     do so now.
20

21

22   8
         WWP Resp. at 20–21.
23
     9
         TPEIS-0298, 2015 ARMPA at 2-7 (AR-037759) (MD SSS 2.A.2).

24
     10
       WWP Resp.at 21–22. Plaintiffs did not develop that argument in their opening brief. See
     Pls.’ Mot. for Summ. J. and Mem. in Supp.at 15, ECF No. 202 (“WWP Mem.”).
25   11
        See TPEIS-0384, FEIS at 4-43 (AR-045591) (discussing Lone Willow PMU meeting
26   triggers under the Nevada Department of Wildlife (NDOW) 2014 Nevada Greater Sage-
     grouse Management Plan).
27   12
          See TPEIS-0298, 2015 ARMPA at 2-12–2-13 (AR-037764–65).
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims       5
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 12 of 31



 1
                Third, with respect to conservation credits, 13 Plaintiffs ignore the fact that BLM
 2
     required Lithium Nevada to comply with state laws, including those related to the
 3
     conservation-credit system—but that BLM itself does not administer that program
 4
     and is not responsible for enforcing its requirements. 14 BLM thus was not required
 5
     under the 2015 ARMPA to administer that system by requiring development of
 6
     specific credits or debits, or otherwise enforce the system in approving the Project.
 7
                Finally, invoking a recently reinstated opinion of the Department of the
 8
     Interior’s Solicitor, 15 Plaintiffs argue that BLM was required to impose the specific
 9
     provisions from the 2015 ARMPAs because BLM may impose “mitigation measures
10
     to protect public lands.” 16 As Plaintiffs admit, however, that opinion was not in force
11
     as of the date of the challenged decisions. 17 Moreover, that opinion’s analysis of
12
     BLM’s mitigation authority builds from the principle of multiple use and sustained
13
     yield, which the opinion expressly recognizes does not apply to operations under the
14
     Mining Law. 18 Thus, while the opinion recognized BLM’s authority to “identify and
15
     require appropriate mitigation” under FLPMA 19 it nowhere states that BLM may
16
     impose mitigation provisions in a land-use plan that would function to withdraw the
17
     land in question from operation of the Mining Law. Nor did the opinion address
18

19

20
     13
          WWP Resp. at 22.
     14
          Fed. Defs.’ Opp’n at 15–16.
21
     15
       The Bureau of Land Management’s Authority to Address Impacts of its Land Use Authorizations
22   through Mitigation, M-37039 (Dec. 21, 2016), ECF No. 264-1.
23   16
          WWP Resp.at 17 (citing 43 C.F.R. § 3809.420(a)(4)); see also id. at 15–18.

24
     17
          Id. at 17 n.7.
     18
       M-37039 at 7 n.43 (“FLPMA provides that only certain of its provisions, including the
25   BLM’s obligation to ‘take any action necessary to prevent unnecessary or undue degradation
26   of the lands,’ ‘amend the Mining Law of 1872 or impair the rights of any locators or claims
     under that Act.’ Id. § l732(b).”).
27   19
          Id. at 3.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims         6
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 13 of 31



 1
     whether BLM is obligated to impose specific mitigation measures in any particular
 2
     project.
 3
                  B.    The Rosemont decision does not alter the outcome here
 4
              In repeating their argument that BLM could not exempt the Mining Plan’s
 5
     waste rock and tailings facilities from certain provisions of the 2015 ARMPA on the
 6
     basis of “valid rights,” Plaintiffs largely respond to arguments raised by Federal
 7
     Defendants during the preliminary injunction motion phase of this case, where
 8
     Federal Defendants focused on whether those provisions could be applied to the
 9
     Project consistent with the Mining Law itself. 20 As explained above, however, even
10
     setting aside any consideration of rights to occupation under the Mining Law, BLM
11
     could not apply those provisions of the 2015 ARMPA consistent with other applicable
12
     law—including FLPMA and BLM’s subpart 3809 regulations, which it was required
13
     to follow.
14
              For that reason alone, Plaintiffs’ repeated invocation of the Ninth Circuit’s
15
     recent decision in Rosemont is irrelevant here: the Ninth Circuit did not address
16
     whether a mining plan of operations approved under BLM’s subpart 3809
17
     regulations 21 must comply with RMP provisions when application of those provisions
18
     would effectively withdraw the land in question from operation of the Mining Law in
19
     violation of FLPMA, 43 U.S.C. § 1712(e)(3). That is particularly important here,
20
     where Plaintiffs have only asserted a claim challenging the lack of a “valid rights”
21
     determination for compliance with FLPMA through the Administrative Procedure
22

23

24   20
          See WWP Resp. at 4–7, 15.
25
     21
       The distinction between the applicable regulations in that case and this is also not
     immaterial, as Plaintiffs argue. Id. at 11. The Court of Appeals concluded that arguments
26   based on the application of the Forest Service’s Part 228 subpart A regulations were
     “premature” in that case, and did not rule on those arguments. Rosemont, 33 F.4th at 1223–
27   24.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims     7
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 14 of 31



 1
     Act (APA)—and have not brought a claim challenging the agency’s compliance with
 2
     the Mining Law itself, as plaintiffs in Rosemont did. 22
 3
             Rosemont is also distinguishable on the facts. The Ninth Circuit concluded that,
 4
     “[i]f no valuable minerals have been found on the land,” the Mining Law “gives no
 5
     right of occupation beyond the temporary occupation inherent in exploration.”
 6
     33 F.4th at 1219 (analyzing 30 U.S.C. § 22). It then characterized the mining
 7
     company’s placement of waste rock “during the period of active mining” as
 8
     “occupancy . . . beyond [that] necessary for exploration.” Id. at 1220. Because the
 9
     Court of Appeals found, based on “[u]ndisputed evidence in the record,” that “no
10
     valuable minerals have been found on [the] claims,” and that “none are likely to be
11
     found,” it concluded that the mining company’s “claims are necessarily invalid” and
12
     the Forest Service may not “assume the validity of [the] mining claims . . . .” Id. at
13
     1221.
14
             No such uncontested evidence exists here. To the contrary, the record contains
15
     evidence supporting the potential for valuable minerals—lithium—throughout the
16
     Thacker Pass basin. 23 Even the feasibility study that Plaintiffs rely on indicates that
17
     “lithium mineralization is laterally extensive across the whole caldera . . . .” 24 In that
18
     regard, the same concerns that animated the validity discussion in Rosemont are not
19

20

21
     22
       See Compl. ¶¶ 252–254 (Claim 3), WWP ECF No. 1; Complaint ¶¶ 218–19 (Claim 4), Save
     the Scenic Santa Ritas v. U.S. Forest Service, No. 4:17-cv-576-RCC (D. Ariz. Nov. 27, 2017),
22   ECF No. 1.
23
     23
       E.g., TPEIS-0702, FEIS App’x G at AR-065693; see also Lithium Nevada’s Opp’n at 6–8,
     ECF No. 240. Even if this record contained conflicting evidence about the viability of
24   extraction, at most, that the Court should not make a determination—as the Ninth Circuit
     did—that Lithium Nevada’s claims are invalid. Rather, if it finds any error on this basis, it
25   should remand the decision to BLM to make the appropriate findings and determinations in
26   the first instance.
     24
       TPEIS-0234 at 3–4 (AR-033884–85). Further, the map on which Plaintiffs rely does not
27   indicate that there is no mineralization outside of the mine pit; only that the mine pit, itself,
28   as described in that report, is known to contain mineralization. Id. at 2 (AR-033883).

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims           8
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 15 of 31



 1
     present here. See 33 F.4th at 1221 (Forest Service may not “assume the validity of
 2
     [the] mining claims even where . . . that assumption is contradicted by the evidence”).
 3
            Nor is this a project that, like the mine at issue in Rosemont, will blanket
 4
     thousands of acres of public lands in billions of tons in a permanent layer of waste
 5
     rock—a fact that the Ninth Circuit highlighted throughout its opinion and alongside
 6
     its dispositive observation that “no valuable minerals have been found” underlying
 7
     Rosemont’s ancillary uses. 33 F.4th at 1212; see also id. at 1217 (describing as
 8
     “counterintuitive” Rosemont’s proposal “to permanently occupy land that
 9
     supposedly contains valuable minerals with a 700-foot layer of waste rock”). This
10
     Project is small relative to that described in Rosemont: its entire footprint, for example,
11
     could fit within Rosemont’s waste rock facility. At most, the Project will deposit a
12
     fraction of the two billion tons of waste rock and tailings at issue in Rosemont. 25
13
     Finally, in Rosemont, waste rock and tailings were to be deposited to an average depth
14
     of 700 feet over thousands of acres—a design that would “obstruct[t] countless
15
     alternative uses.” 33 F.4th at 1221. By contrast, here, the tailing facilities here would
16
     rise to a maximum height of 250 feet at one point and would generally “mimic the
17
     surrounding topography,” 26 thus not approaching the same level of impact on the
18
     landscape.
19
            Finally, and importantly, Plaintiffs have not challenged the Exploration Plan
20
     at all under this theory. Nor could they. The Ninth Circuit’s conclusions were limited
21
     to the facts before it: review of the Forest Service’s approval of a mining plan of
22
     operations, not an exploration plan of operations. Rosemont, 33 F.4th at 1207. Indeed,
23
     the plain language of the Ninth Circuit’s decision acknowledges this distinction,
24

25   25
       See TPEIS-0102, Mining Plan at 53 (AR-012578) (describing capacity of tailings facility as
26   317 million tons); id. at 33 (AR-012558) (predicting Project will generate 62 million tons
     (50 million CY) of waste rock, net of backfill).
27   26
       TPEIS-0102, Mining Plan at 53 (AR-012578); see also id. at AR-12782–83 (reclamation
28   topography and tailings stack diagram).

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims      9
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 16 of 31



 1
     concluding that, absent a discovery of a valuable mineral deposit, the Mining Law
 2
     “gives a miner no right to occupy the claim beyond the temporary occupancy necessary
 3
     for exploration.” Id. at 1209 (emphasis added). No part of the Ninth Circuit’s decision
 4
     purports to require such a discovery or validity determination before approving
 5
     surface use for exploratory purposes.
 6
                 C.     BLM’s approval does not violate water- or air-quality standards or
 7                      protections for sage-grouse
 8            Plaintiffs’ argument that BLM’s approval of the Project authorizes unnecessary

 9   or undue degradation remains disconnected from the law and relevant standards—

10   and so Plaintiffs have not carried their burden on that claim.

11                 1.       Water quality
12            Plaintiffs still have not identified how the challenged decision would lead to

13   any violation of a relevant performance standard or Federal or state law “related to

14   environmental protection,” and thus constitute unnecessary or undue degradation

15   within the meaning of BLM’s regulations. See 43 C.F.R. §§ 3809.420, 3809.5(a).

16   There is no dispute that BLM recognized that water in the pit backfill could contain

17   antimony—but only antimony—at a level above a water-quality standard—but only

18   the standard for drinking water. 27 And hydrogeologic modeling shows that the water

19   would not leave the mine footprint, even after 300 years, so will not reach any

20   drinking water wells or watering holes. Plaintiffs do not identify an applicable

21   ambient water-quality standard that this approval would violate. Though they point

22   to     Nevada’s    limitations     on    groundwater        degradation         at   NEV. ADMIN.

23   CODE § 445A.424(1)(b)(1) (2022), they ignore that the Nevada Department of

24   Environmental Protection (NDEP) “may exempt a body of groundwater” from those

25   standards in the permitting process, especially where the groundwater does not and

26   is not likely to serve as a source for drinking water—which is the case here. Id.

27

28
     27
          TPEIS-0384, FEIS at 4-13 (AR-045561).

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims             10
          Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 17 of 31



 1
     § 445A.424(2). They also ignore that Nevada’s case-by-case application of these
 2
     standards in the context of pit lakes apply generally to “[b]odies of water which are a
 3
     result of mine pits penetrating the water table,” id. § 445A.429(4)—which would
 4
     include any water remaining in the mine pit, backfilled or otherwise.
 5
            Ultimately, whatever the FEIS’s estimation about antimony levels over time,
 6
     consistent with its regulations at 43 C.F.R. § 3809.420(b)(5), BLM’s decision
 7
     approving the Project expressly requires Lithium Nevada to comply with Nevada’s
 8
     water-quality standards, which NDEP—not BLM—enforces. Plaintiffs’ selective
 9
     characterizations of NDEP’s communications notwithstanding, in exercising those
10
     responsibilities, NDEP did what BLM anticipated: given the future potential for
11
     increased antimony levels, it required Lithium Nevada to watch for and mitigate
12
     against any concentrations exceeding the drinking water standards outside the pit. 28
13
     BLM’s decision was thus fully consistent with its obligation to prevent unnecessary
14
     or undue degradation because it did require Lithium Nevada to comply with state
15
     water-quality standards. See Great Basin Mine Watch v. Hankins, 456 F.3d 955, 966 (9th
16
     Cir. 2006) (rejecting plaintiffs’ assertion that BLM’s approval constituted unnecessary
17
     or undue degradation because the agency’s decision was subject to compliance with
18
     requirement to obtain a permit from NDEP).
19
                  2.        Air quality
20
            BLM concluded that the Project “would not have a substantial effect on air
21
     quality” because pollutants from the Project, as presented in the Mining Plan, would
22
     not exceed “the applicable [National Ambient Air Quality Standards (NAAQS)] and
23

24

25
     28
        TPEIS-1494, October 29, 2020 NDEP letter to Lithium Nevada at AR108868; TPEIS-
26   0384, FEIS at 4-26 (AR-045574). NDEP issued a Water Pollution Control Permit to Lithium
     Nevada in February 2022, which the State Environmental Commission unanimously
27   affirmed on June 28, 2022, despite challenges from at least one of the Plaintiffs in this case.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims        11
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 18 of 31



 1
     Nevada Standards” 29—even without the engineering details of the sulfur dioxide
 2
     scrubbing technology that Lithium Nevada proposed for mitigating emissions from
 3
     its sulfuric acid plant. Plaintiffs, by contrast, have not identified any air-quality
 4
     standard that the Project would fail to comply with. 30 Nor have Plaintiffs offered any
 5
     authority supporting the proposition that BLM was required to evaluate the details of
 6
     any additional mitigation system that was not required for the Project to meet those
 7
     air-quality standards. Plaintiffs thus have not met their burden of demonstrating that
 8
     BLM has authorized unnecessary or undue degradation in the air-quality context. See
 9
     Edwardsen v. U.S. Dep’t of the Interior, 268 F.3d 781, 789 (9th Cir. 2001).
10
                  3.        Sensitive species
11
              Plaintiffs still have offered no binding authority requiring BLM’s decision to
12
     require the mitigation provisions for sage-grouse and other “BLM sensitive species”
13
     specified only in the RMPs in order to satisfy the agency’s obligation to prevent
14
     unnecessary or undue degradation. 31 As BLM has explained, FLPMA’s standard
15
     does not require BLM to prevent all degradation; only that which is unnecessary or
16
     undue. See Theodore Roosevelt Conservation P’ship v. Salazar, 661 F.3d 66, 78 (D.C. Cir.
17
     2011). BLM has defined what constitutes unnecessary or undue to fisheries, wildlife,
18
     and plants through notice-and-comment rulemaking, such that it will only require
19
     mitigation “to prevent adverse impacts to threatened or endangered species, and their
20
     habitat which may be affected by operations.” 43 C.F.R. § 3809.420(b)(7) (emphasis
21
     added); see also 66 Fed. Reg. 54,834, 54,858 (2001) (noting that § 3809.420(b)(7) “on
22
     fisheries, wildlife, and plant habitat explicitly protects only threatened and endangered
23

24

25   29
       TPEIS-0384, FEIS at 4-80 (AR-045628); see also TPEIS-0706, FEIS App’x K at 24 (AR-
     065847) (Table 16).
26   30
          See WWP Resp. at 28.
27   31
          WWP Resp. at 23–24.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims   12
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 19 of 31



 1
     species” (emphasis added)). The greater sage-grouse is neither of these. 32 BLM thus
 2
     complied with its obligations under FLPMA and its regulations.
 3
              Plaintiffs’ appeal to a BLM handbook, out-of-context statements from prior
 4
     cases, and a letter from NDOW 33—none of which are binding on the agency—cannot
 5
     impose obligations beyond those spelled out in BLM’s regulations. Plaintiffs also
 6
     invoke a statement, in the form of an example from the recently reinstated Solicitor’s
 7
     Opinion discussed above, that “destruction of unique habitat . . . might not be
 8
     adequately compensated” by other actions such that mitigation would not prevent
 9
     unnecessary or undue degradation. 34 But BLM has made no such finding as to sage-
10
     grouse habitat here. Rather, as explained above, Lithium Nevada’s coordination of
11
     conservation credits through Nevada’s Sagebrush Ecosystem Program (SETT)
12
     program is intended to ensure a net gain in sage-grouse habitat overall—but the State
13
     administers that program.
14
              II.    BLM’s approval of the Project complied with NEPA
15
              In arguing that the Project’s approval did not satisfy NEPA, Plaintiffs attempt
16
     to impose a higher standard on BLM than does the law itself. Applicable regulations
17
     require an EIS to “succinctly describe the environment of the area(s) to be affected or
18
     created by the alternatives under consideration” such that the descriptions “shall be
19
     no longer than is necessary to understand the effects of the alternatives.” 40 C.F.R.
20
     § 1502.15 (emphasis added). 35 The question before the Court is not whether the EIS
21
     explores every possible corner of every possible impact, but instead whether BLM has
22
     taken a “hard look” at environmental impacts under the “rule of reason”—that is,
23

24   32
          Nor is the springsnail, which WWP only mentions in passing. WWP Resp. at 24.
25   33
          WWP Resp. at 23–24.

26
     34
       See WWP Resp. at 17–18 (emphasis added) (citing M-37039 at 20, which was not in force
     at the time of the decision).
27   35
       Citations herein are to the version of the NEPA-implementing regulations in effect at the
28   time the relevant decisions were made, 40 C.F.R. Part 1500 (2019).

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims    13
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 20 of 31



 1
     does the EIS “contain[ ] a reasonably thorough discussion of the significant aspects of the
 2
     probable environmental consequences.” Or. Nat. Res. Council v. Lowe, 109 F.3d 521,
 3
     526 (9th Cir. 1997) (per curiam) (emphasis added) (internal quotation marks and
 4
     citations omitted). The FEIS underlying the Project’s approval does so.
 5
                  A.     BLM adequately described baseline conditions and impacts to
 6                       wildlife
 7            Plaintiffs attempt to set their own standards for an FEIS’s inclusion of baseline

 8   conditions and its analysis of impacts on wildlife. In support, they cite only two

 9   cases, 36 neither of which is relevant to the facts of this case. First, they rely on Great

10   Basin Resource Watch v. Bureau of Land Management for the general proposition that an

11   agency must establish “appropriate baseline conditions” in conducting a NEPA

12   analysis. 844 F.3d 1095, 1101 (9th Cir. 2016). But the only baseline that the Ninth

13   Circuit found insufficient in that case was a baseline of zero for certain air

14   pollutants—an assumption the agency relied on without explanation. Id. at 1103.

15   Even further afield, Klamath-Siskiyou Wildlands Center v. Bureau of Land Management,

16   does not address either baseline conditions or impacts on wildlife at all. Instead, the

17   court faulted the agency for merely listing elements that could be impacted by the

18   project without conducting any analysis of how they would be impacted. 387 F.3d

19   989, 995 (9th Cir. 2004). BLM has more than satisfied the relevant legal requirements

20   here.

21                 1.       Sage-grouse
22            As Federal Defendants have explained, 37 the FEIS established a baseline of

23   sage-grouse activity within the affected environment, including documentation of

24   “63 tracking locations generated by at least 30 radio-marked birds” and other

25

26   36
          WWP Resp. at 28–29.
27   37
          Fed. Defs.’ Opp’n at 27–28.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims     14
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 21 of 31



 1
     sampling efforts. 38 Unlike in Great Basin Resource Watch, 844 F.3d at 1103, here BLM
 2
     set out a baseline, explained its source, and then analyzed the potential impacts of the
 3
     Project against that baseline. 39 BLM also acknowledged NDOW’s concerns about
 4
     noise impacts on sage-grouse leks and explained how, under its analysis, “anticipated
 5
     noise levels would likely not exceed the recommended 10 [decibels].” 40 That Lithium
 6
     Nevada was also working with the SETT program to offset noise-related impacts
 7
     through the conservation-credit system does not undermine this explanation. 41
 8
     Plaintiffs ignore these details, inaccurately characterizing sage-grouse baselines
 9
     clearly set forth in the record as “vague statements” without an “adequate effects
10
     analysis,” without offering any authority supporting any inadequacy here. 42
11
                   2.        Pronghorn
12
              The FEIS also established the baseline for its analysis of the Project’s impacts
13
     on pronghorn. 43 Plaintiffs now fault the baseline for not including population
14
     numbers, 44 but offer no authority for the proposition that BLM must include such
15
     numbers when the population of the relevant Hunt Unit has “remained stable” and
16
     where BLM thoroughly analyzed the impact of the Project on pronghorns’ habitat,
17
     38
          TPEIS-0702, FEIS App’x G at G-18 (AR-065647).
18   39
          TPEIS-0384, FEIS at 4-42–4-45 (AR-045590–93).
19   40
       TPEIS-0384, FEIS at R-184 (AR-048171). BLM also explained that the Project was “a
20   non-discretionary 43 CFR 3809 action” and that “BLM’s discretion [was] limited to
     preventing unnecessary and undue degradation,” such that it “may not impose timing or
21   operational restrictions” from the 2015 ARMPA provisions, as Plaintiffs seek to require here.
     As explained supra Parts I.A and I.B, BLM’s determination that it lacked such discretion
22   derives from its Part 3809 regulations, not any assumption of “valid rights” under the Mining
     Law.
23
     41
          See WWP Resp. at 29; TPEIS-0384, FEIS at R-184 (AR-048171).
24   42
          WWP Resp. at 29.
25   43
       See Fed. Defs.’ Opp’n at 28–30, 32–33. As demonstrated by Federal Defendants’ previous
26   discussion, Plaintiffs’ assertion that the FEIS’s “entire analysis of effects to pronghorn is
     limited to a single sentence,” WWP Resp. at 30, is patently false.
27   44
          WWP Resp. at 29.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims       15
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 22 of 31



 1
     range, and movement corridors. 45 Plaintiffs also now fault BLM for discussing
 2
     impacts to pronghorn in the context of impacts to other “big game,” 46 but similarly
 3
     offer no authority requiring BLM to completely separate those analyses when the
 4
     latter analysis applies as much to pronghorn as to other big game.
 5
                   3.        Kings River pyrg
 6
               The FEIS also adequately analyzed the Project’s impacts on water resources—
 7
     and thus on the Kings River pyrg, a variety of springsnail. Specifically, and as
 8
     previously explained, BLM analyzed the impact of mine-related drawdown of water
 9
     resources on springsnails and concluded that no further impacts analysis was
10
     necessary because springsnails were not detected in any streams likely to be adversely
11
     affected by the Project. 47 Plaintiffs now challenge these conclusions by citing
12
     NDOW’s letter commenting on the FEIS as raising “significant concerns,” 48 but
13
     neglect to point out that NDOW raised these “concerns” in the context of
14
     recommending expansion of the seep/spring monitoring program. 49 In any event,
15
     BLM considered and responded to these post-FEIS comments to the extent required
16
     by law. 50
17
                   4.        Impacts on other wildlife from impacts on water resources
18
               Finally, Plaintiffs continue to ask the Court to flyspeck BLM’s analysis of the
19
     Project’s impact on water resources and thus on the wildlife that depend on them. 51
20
     As previously explained, BLM concluded that the drawdown related to the Project
21
     45
       See TPEIS-0384, FEIS at 4-38 (AR-045586); TPEIS-0696, FEIS App’x A Figure 4.5-7 (AR-
22   065508); TPEIS-0702, FEIS App’x G at G-14 (AR-065643).
23   46
          WWP Resp. at 30.
24
     47
          TPEIS-0384, FEIS at 4-48 (AR-045596); id. at 4-9–4-10 (AR-045557–58).
     48
          WWP Resp. at 30.
25
     49
          TPEIS-0446, NDOW Letter at 2 (AR-052421).
26   50
          See Fed. Defs.’ Opp’n at 39–40.
27   51
          WWP Resp. at 32–34.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims   16
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 23 of 31



 1
     was “not expected to result in a measureable effect to flows in the perennial stream
 2
     reaches” within the Project area, and that ephemeral springs would likewise not be
 3
     directly affected, and it explained why. 52 This scientific analysis is entitled to
 4
     deference. See Half Moon Bay Fishermans’ Mktg. Ass’n v. Carlucci, 857 F.2d 505, 508 (9th
 5
     Cir. 1988). And BLM explained and discussed this conclusion in analyzing the
 6
     Project’s impacts on wildlife. 53
 7
              Plaintiffs counter by arguing that NDOW disagreed with this assessment in its
 8
     comments on the Draft EIS (DEIS) and FEIS. 54 But they offer no authority that BLM
 9
     was obligated to adopt NDOW’s analysis. Nor can they. BLM must consider and
10
     respond to comments on the DEIS. Ctr. for Biological Diversity v. BLM, 833 F.3d 1136,
11
     1150 (9th Cir. 2016). It did so here, recognizing NDOW’s concerns and addressing
12
     (as NDOW acknowledged) several of them in the FEIS, including by adding a 1-mile
13
     buffer to account for uncertainty in the hydrological models. 55 But ultimately, the
14
     Court defers to BLM’s technical determinations—not NDOW’s comments. See Balt.
15
     Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 103 (1983). And to the extent
16

17

18

19
     52
          Fed. Defs.’ Opp’n at 31–32 (citing TPEIS-0384, FEIS at 4-7–4-11 (AR-045556–59)).
     53
       Fed. Defs.’ Opp’n at 31–32 (citing 4-36–4-37 (birds), 4-46 (bats), 4-47 (LCT), 4-48
20
     (amphibians and springsnails) (AR-045584–85, AR-045595–96)). Plaintiffs misconstrue
21   BLM’s argument, and ignore this citation entirely, in their misleading conclusion that BLM’s
     FEIS citations on this subject lack “reference to any wildlife.” WWP Resp. at 31.
22   54
       WWP Resp. at 31–33. Plaintiffs also assert that the U.S. Fish and Wildlife Service (FWS)
23   also commented on the hydrologic baselines and modeling after reviewing the draft EIS and
     Biological Assessment. Id. at 32. But Plaintiffs point to nothing suggesting that BLM did not
24   consider those comments in preparing the FEIS or any authority requiring BLM to adopt
     another agency’s technical determinations.
25
     55
       TPEIS-0384 at R-181–R-192 (AR-048168–79). BLM specifically also addressed NDOW’s
26   comment on the DEIS concerning classification of streams as perennial, see WWP’s
     Response at 32, for which NDOW recommended “future monitoring” and continued
27   evaluation, see TPEIS-0384, FEIS at R-186 (AR-048173).
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims       17
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 24 of 31



 1
     that Plaintiffs continue to rely on NDOW’s post-FEIS comments, BLM considered
 2
     and responded to them to the extent required by law. 56
 3
                  B.     BLM analyzed cumulative impacts
 4
               Plaintiffs also have not carried their burden of demonstrating any error in
 5
     BLM’s cumulative impacts analysis. They offer no excuse for their failure to raise the
 6
     single project they believe BLM should have analyzed in its cumulative impacts
 7
     analysis during the administrative process, and their other, generic challenges to the
 8
     cumulative impacts analysis completely ignore the record.
 9
                    1.       McDermitt Lithium Project
10
               Plaintiffs waived any challenge to the cumulative impacts analysis based on
11
     the McDermitt lithium project. 57 Te-Moak Tribe of W. Shoshone of Nev. v. U.S. Dep’t of
12
     Interior, 608 F.3d 592, 605 (9th Cir. 2010), on which Plaintiffs rely to counter that
13
     waiver, 58 does not dictate a different result. “Parties must alert an agency to their
14
     position and contentions” and, by failing to do so, “waive[ ] arguments that are not
15
     raised during the administrative process.” N. Plains Res. Council, Inc. v. Surface Transp.
16
     Bd., 668 F.3d 1067, 1081 (9th Cir. 2011). Te-Moak Tribe does not address a plaintiff’s
17
     burden to raise issues before the agency, but rather the plaintiffs’ burden at summary
18
     judgment. Even were those burdens the same, WWP’s asserted broad criticism during
19
     the administrative process that BLM did not consider the impacts from “all other” of
20
     eight or more generic land uses “in the region” 59 is far too general to “alert [the]
21
     agency to [plaintiffs’] position” and carry Plaintiffs’ burden of raising objections
22

23
     56
       See Fed. Defs.’ Opp’n at 39–40. The law does not require BLM to “refute[ ] . . . specific
24   comments” on an FEIS, as Plaintiffs argue BLM should have done, WWP Resp. at 32; it
     does not even require BLM to accept them. Japanese Vill. LLC, v. Fed. Transit Admin, 843 F.3d
25
     445, 467 (9th Cir. 2016) (citing 40 C.F.R. § 1503.1(b)).
26   57
          See Fed. Defs.’ Opp’n at 24.
27   58
          WWP Resp. at 33.

28
     59
          WWP Resp. at 33.

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims       18
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 25 of 31



 1
     during the public comment period to avoid forfeiting them during judicial review. Cf.
 2
     N. Plains Res. Council, 668 F.3d at 1081 (cumulative impacts argument not waived
 3
     when petitioner specifically raised project to be addressed).
 4
                   2.       Other cumulative impacts
 5
              Plaintiffs also have not carried their burden of demonstrating any deficiency in
 6
     the remainder of BLM’s cumulative impacts analysis. They repeat their argument that
 7
     BLM’s analysis “just list[s],” without quantified analysis, “acreages of other projects
 8
     . . . .” 60 To be sure, the FEIS does include a list of other projects and the acreage of
 9
     their projected ground disturbance. 61 But unlike Great Basin Mine Watch, 456 F.3d at
10
     973 and Great Basin Resource Watch, 844 F.3d at 1105, on which Plaintiffs rely, BLM
11
     did not stop there: it presented more than 15 pages of analysis of those cumulative
12
     effects on at least 20 resources. 62 Until their responsive brief, Plaintiffs had not
13
     identified any of those specific analyses as being allegedly deficient, instead only
14
     generally challenging the geographic scope of the cumulative effects study areas 63—
15
     the agency’s determination of which is afforded deference, so long as it is explained.
16
     See Selkirk Conservation All. v. Forsgren, 336 F.3d 944, 958 (9th Cir. 2003). And
17
     Plaintiffs have pointed to no such lack of explanation here.
18
              Plaintiffs now, for the first time, argue that BLM erred by not quantifying the
19
     cumulative impacts on sage-grouse populations—and only that. 64 Plaintiffs waived
20
     this argument by not raising it in their opening brief. See Greenwood v. FAA, 28 F.3d
21
     971, 977 (9th Cir. 1994) (issues not “argued specifically and distinctly in a party’s
22
     opening brief” are waived). Even were it not waived, Plaintiffs have not supported it
23

24
     60
          WWP Resp. at 33–34.
25   61
          TPEIS-0384, FEIS at 5-2 (AR-045673).
26   62
          TPEIS-0384, FEIS at 5-3–5-20 (AR-045673–90).
27   63
          See WWP Mem. at 29–31.

28
     64
          WWP Resp. at 34–35.

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims   19
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 26 of 31



 1
     with any authority requiring quantification of sage-grouse or their habitat in a
 2
     cumulative effects analysis, especially where—as here—impacts to sage-grouse
 3
     habitat beyond the Project area will be addressed through the conservation-credit
 4
     system.
 5
                  C.     BLM considered mitigation measures
 6
               Finally, Plaintiffs have not demonstrated any lack of compliance with NEPA’s
 7
     requirement that BLM consider measures that may mitigate the adverse impacts of a
 8
     proposed project. 40 C.F.R. §§ 1502.14(f), 1502.16(h).
 9
                   1.        Water resources
10
               Plaintiffs continue to assert that BLM put off analysis of possible mitigation
11
     measures, and thus erred. 65 In doing so, they continue to ignore the relevant standards
12
     for consideration of mitigation measures in the FEIS. Here, BLM disclosed to the
13
     public and analyzed proposed monitoring and mitigation measures for addressing
14
     surface and groundwater resources—specifically, the measures discussed in
15
     Appendix P. 66 This satisfied NEPA, which “requires only that an EIS contain ‘a
16
     reasonably complete discussion of possible mitigation measures’” and “does not
17
     require an agency to formulate and adopt a complete mitigation plan” before project
18
     approval. N. Alaska Env’t Ctr. v. Kempthorne, 457 F.3d 969, 979 (9th Cir. 2006)
19
     (emphasis added) (quoting Robertson v. Methow Valley Citizens’ Council, 490 U.S. 332,
20
     352 (1989)). Plaintiffs have offered no contrary authority requiring BLM to do more
21
     before a project’s approval, especially in this context where any impacts to water
22
     resources are projected to occur far in the future, if at all, rendering monitoring and
23
     adaptive management an appropriate approach. Great Basin Res. Watch, 844 F.3d at
24
     1107 (BLM’s “wait and see” mitigation approach reasonable “given the relatively low
25
     probability and temporal remoteness of adverse impacts to ground water”).
26

27
     65
          See WWP Resp. at 25–27, 35.

28
     66
          See Fed. Defs.’ Opp’n at 35–38.

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims   20
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 27 of 31



 1
               That additional groundwater mitigation and monitoring measures were
 2
     adopted after the Project was approved does not violate NEPA. Nor would
 3
     subsequent adoptions of such measures after approval render this a case where BLM
 4
     changed its analysis between the DEIS and the FEIS without providing information
 5
     to the public or failed to analyze any mitigation or monitoring measures at all, as
 6
     Plaintiffs suggest.67 Finally, Plaintiffs are simply wrong to suggest that BLM was
 7
     obligated to take further action in response to the Environmental Protection Agency’s
 8
     comments on the FEIS. 68 BLM complied with the law with respect to those
 9
     comments. 69 None of the cases Plaintiffs now rely on—all of which address other
10
     agencies’ comments on draft documents—required more. See Davis v. Mineta, 302 F.3d
11
     1104, 1123 (10th Cir. 2002) (addressing agency responses to comment on draft EIS);
12
     Silva v. Lynn, 482 F.2d 1282, 1285 (1st Cir. 1973) (same as to draft plan); Nat’l Wildlife
13
     Fed’n v. Nat’l Marine Fisheries Serv., 184 F. Supp. 3d 861, 903 (D. Or. 2016) (same as
14
     to draft biological opinion); N. Spotted Owl v. Hodel, 716 F. Supp. 479, 482–83 (W.D.
15
     Wash. 1988) (addressing comments during species listing review period).
16
                   2.        Air quality
17
               Plaintiffs’ reiterated arguments with respect to air quality mitigation likewise
18
     miss the mark and exhibit a fundamental misunderstanding of the record and the law.
19
     In short, BLM evaluated the sulfuric acid plant as it was described in the Mining Plan
20
     and concluded that the Project would meet applicable air-quality standards. 70 That
21
     additional details about the specific tail-gas-scrubbing technology Lithium Nevada
22

23   67
       WWP Resp. at 35 (citing Western Exploration LLC v. U.S. Dep’t of Interior, 250 F. Supp. 3d
     718 (D. Nev. 2017)).
24   68
          WWP Resp. at 27–28.
25   69
          See Fed. Defs.’ Opp’n at 39–40.
26   70
       TPEIS-0384, FEIS at 4-82 (AR-045630) (“[A]ll pollutant concentrations within the project
     would be less than the NAAQS and Nevada standards, and that effects on AQRVs in Class
27   I areas would be negligible. Therefore, no mitigation is required.”).
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims      21
           Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 28 of 31



 1
     intended to use were later provided is immaterial, as Plaintiffs point to no evidence
 2
     that it would alter the plant’s emissions to exceed those standards. Further, BLM
 3
     required Lithium Nevada to comply with state air-quality regulations and obtain the
 4
     necessary air-quality permits from NDEP. 71 Because of this, BLM did not need to
 5
     address the engineering of the “tail gas scrubber” or its effects to conclude that air-
 6
     quality standards would be met or to satisfy NEPA’s “hard look” requirement.
 7
              Plaintiffs’ remaining arguments are unavailing. First, Plaintiffs rehash
 8
     arguments already addressed, offer no authority for the proposition that BLM was
 9
     required to evaluate how the tail gas scrubbing technology operates, and ignore BLM’s
10
     reasonable conclusion that it need not do so because BLM “do[es] not evaluate the
11
     details (engineering) of [the plant’s] processing” in making that determination. 72
12
     Second, in requiring Lithium Nevada to comply with NDEP’s permitting
13
     requirements, BLM is not substituting a “non-NEPA document” for its obligation to
14
     evaluate effects on the environment, as Plaintiffs now argue. 73 Plaintiffs here have
15
     argued that BLM’s decision would allow Lithium Nevada to violate air-quality
16
     standards. BLM has not done so, because it conducted its own air-quality analysis
17
     during the NEPA process and also required Lithium Nevada to obtain the appropriate
18
     permits from NDEP.
19

20

21

22
     71
       TPEIS-0452, ROD at 21 (AR-052537) (“No work is authorized under the Plan until LNC
23   has complied with all federal, state, and local regulations, including obtaining all necessary
24   permits from [NDEP] and other federal, state, and local agencies.”); see also TPEIS-0384,
     FEIS at 2-9 (AR-045527) (“The operation of the sulfuric acid plant would be regulated under
25   a facility Permit to Construct / Permit to Operate that would be issued by the [NDEP]
     Bureau of Air Pollution Control (BAPC).”).
26   72
          TPEIS-0981 at AR-093830.
27   73
          WWP Resp. at 38.
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims        22
            Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 29 of 31



 1                     3.    Sage-grouse
 2              Finally, Plaintiffs now challenge BLM’s analysis of mitigation for sage-grouse

 3   and their habitat. 74 But the FEIS presented “two distinct options for implementing

 4   compensatory mitigation to offset residual impacts to greater sage-grouse habitat

 5   under the selected alternative,” including compensatory mitigation through purchase

 6   of credits under Nevada’s conservation-credit system and conducting habitat

 7   enhancement efforts at offsite parcels near the Project. 75 BLM discussed both of these

 8   alternatives. 76 Ultimately, BLM’s approval of the Project required Lithium Nevada

 9   to comply with state laws related to the conservation-credit system and to work with

10   SETT to develop a mitigation plan consistent with that system and the State’s

11   requirements. 77 This satisfies the requirement that BLM consider possible mitigation

12   measures.

13              III.    The Court should not vacate the ROD and EIS
14              As explained above, the record demonstrates that the Project’s approval

15   complied with applicable law and was not arbitrary or capricious, so no remedy is

16   called for here. But should the Court grant Plaintiffs’ motion for summary judgment

17   and conclude that the Project’s approval was insufficient in some aspect, the ROD

18   and FEIS should not be vacated.

19              Under the APA “[t]he reviewing court shall . . . hold unlawful and set aside

20   agency action, findings, and conclusions found to be . . . arbitrary, capricious, an

21   abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

22   Ultimately, however, “[t]he decision whether to vacate depends on the seriousness of

23   the order’s deficiencies (and thus the extent of doubt whether the agency chose

24   correctly) and the disruptive consequences of an interim change that may itself be

25   74
          WWP Resp. at 37.
26   75
          TPEIS-0709 FEIS App’x N at N-23–N-25 (AR-066106–08).
27
     76
          Id.

28
     77
          See Fed. Defs.’ Opp’n at 15–16.

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims    23
         Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 30 of 31



 1
     changed.” Allied–Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51
 2
     (D.C. Cir. 1993) (internal quotation marks and citation omitted). Thus, “when equity
 3
     demands,” the challenged agency action can be “‘left in place while the agency
 4
     follows the necessary procedures’ to correct its action.” Cal. Cmtys. Against Toxics v.
 5
     EPA, 688 F.3d 989, 992 (9th Cir. 2012) (per curiam) (quoting Idaho Farm Bureau Fed’n
 6
     v. Babbitt, 58 F.3d 1392, 1405 (9th Cir. 1995)). Equity so demands, for example, where
 7
     vacatur would “lead to impermissibly disruptive consequences in the interim.”
 8
     Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 282 F. Supp. 3d 91, 97 (D.D.C.
 9
     2017) (citing Williston Basin Interstate Pipeline Co. v. FERC, 519 F.3d 497, 504 (D.C.
10
     Cir. 2008).
11
            Vacatur is also “not appropriate” where “nothing in the record indicates[,] that
12
     on remand the agency will necessarily fail to justify its decisions . . . .” WildEarth
13
     Guardians v. Zinke, 368 F. Supp. 3d 41, 84 (D.D.C. 2019) (quoting Fox Television
14
     Stations, Inc. v. FCC, 280 F.3d 1027, 1049 (D.C. Cir. 2002), opinion modified on reh’g,
15
     293 F.3d 537 (D.C. Cir. 2002)); see also Standing Rock, 282 F. Supp. 3d at 97 (vacatur
16
     inappropriate when “there is at least a serious possibility that the [agency] will be able
17
     to substantiate its decision on remand” (alteration in original) (internal quotation
18
     marks and citation omitted)); WildEarth Guardians v. U.S. Office of Surface Mining,
19
     Reclamation & Enf’t, 104 F. Supp. 3d 1208, 1232 (D. Colo. 2015) (finding that “the
20
     benefits of immediate vacatur [did] not outweigh the potential harms” and allowing
21
     the agency a period of time to complete corrective NEPA, while deferring vacatur
22
     pending timely compliance), order vacated and appeal dismissed on other grounds, 652 F.
23
     App’x 717 (10th Cir. 2016); Black Rock City LLC v. Haaland, No. 19-CV-3729 (DLF),
24
     2022 WL 834070, at *8 (D.D.C. Mar. 21, 2022) (remanding without vacatur when
25
     requiring BLM to determine whether assessed fees were reasonable under FLPMA).
26
            Thus, should the Court conclude that remand is appropriate on any basis here,
27
     whether vacatur is also appropriate should be illuminated by a factual discussion in
28

     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims    24
         Case 3:21-cv-00080-MMD-CLB Document 267 Filed 08/11/22 Page 31 of 31



 1
     the context of the particular errors (if any) that the Court identifies. It should thus
 2
     afford the parties an opportunity to address those specific questions through further,
 3
     focused briefing.
 4
                                             CONCLUSION
 5
            For the reasons set forth above, BLM’s approval of the Thacker Pass project
 6
     complied with applicable law and was not arbitrary or capricious. Plaintiffs have not
 7
     carried their burden of demonstrating otherwise. The Court should therefore deny
 8
     Plaintiffs’ motion for summary judgment and grant Federal Defendants’ motion.
 9

10
            Respectfully submitted this 11th day of August, 2022.
11
                                                        TODD KIM
12
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13                                                      United States Department of Justice
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14

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     Fed. Defs.’ Reply in Supp. of Mot. for Summ. J. on Environmental Pls.’ Claims         25
